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      ORDERED in the Southern District of Florida on December 27, 2018.




                                                     Laurel M. Isicoff
                                                     Chief United States Bankruptcy Judge




_____________________________________________________________________________
                       UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                              www.flsb.uscourts.gov



      IN RE:         Vivian Sanchez                                   Case No: 18-20331-LMI
                                                                      Chapter 13
                          Debtor.      /

               ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED
               STATUS OF LIEN ON REAL PROPERTY HELD BY _ Westbird Village
                              Condominium Association, Inc.

               THIS CASE came to be heard on __December 4, 2018 on the Debtor’s Motion to

      Value and Determine Secured Status of Lien on Real Property (DE _24; the “Motion”).

      Based upon the debtor’s assertions made in support of the Motion, without objection,

      having considered the record in this case, and being duly advised in the premises, the

      Court FINDS as follows:

               A. The value of the debtor’s real property (the “Real Property”) located at

                  __3581 SW 117th Avenue, Unit 5-303, Miami, FL 33175-1779, and more

                  particularly described as

                  WESTBIRD VILLAGE CONDO UNIT 5-303 UNDIV 0.004883827% INT IN
                  COMMON ELEMENTS OFF REC 24047-0458 COC 24691-0522 06 2006 1

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           is $ _119,138.00____ at the time of the filing of this case.

       B. The total of all claims secured by liens on the Real Property senior to the lien

           of _Westbird Village Condominium Association, Inc. (the “Lienholder”) is $

           _252,295.00_.

       C. The equity remaining in the Real Property after payment of all claims secured

           by liens senior to the lien of Lienholder is $ _0.00__________ and Lender has

           a secured interest in the Real Property in such amount.

       Consequently, it is ORDERED as follows:

       1. The motion is GRANTED.

       2. Lender has an allowed secured claim in the amount of $ __0.00__________.

       3. [IF LIEN IS STRIPPED OFF] Because Lienholder’s secured interest in the

           Real Property is $0, Lienholder’s lien recorded on _September 29, 2017_ at

           OR BOOK _30699 Page 4235 (CFN 2017R0547947) of the official records of

           _Miami-Dade_ County, Florida shall be deemed void and shall be

           extinguished automatically, without further order of the Court, upon entry of

           the debtor’s discharge in this chapter 13 case. If this case is converted to a

           case under any other chapter or if the chapter 13 case is dismissed, Lender’s

           mortgage will no longer be considered void and shall be restored as a lien on

           the Real Property.

       4. (Select only one):

           _____        Lender has not filed a proof of claim in this case. The trustee shall

                        not disburse any payments to Lender unless a proof of claim is

                        timely filed. In the event a proof of claim is timely filed, it shall be



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                        classified as a secured claim in the amount stated in paragraph 2,

                        above, and as a general unsecured claim for any amount in excess

                        of such secured claim, regardless of the original classification in the

                        proof of claim as filed.

           or

           _X____       Lender filed a proof of claim in this case. It shall be classified as a

                        secured claim in the amount provided in paragraph 2, above, and

                        as a general unsecured claim in the amount of $ _ 6,834.29,

                        regardless of the original classification in the proof of claim as filed.

       5. The Real Property may not be sold or refinanced without proper notice and

           further order of the Court.

       6. Notwithstanding the foregoing, this Order is not recordable or enforceable

           until the debtor receives a discharge in this chapter 13 case.

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 Submitted by:

 /s/ Robert Sanchez
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Attorney _Sanchez_ is directed to serve a conformed copy of this Order on all
interested parties immediately upon receipt hereof and to file a certificate of service.




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